                                                       FILED
                                                       IN CLERK'S OFFICE
                                                       US DISTRICT COURT E.D.N.Y.
                                                       * MARCH 26, 2024 *
ALK:AP/AS
F. #2024R00229
                                                       BROOKLYN OFFICE

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STA TES OF AMERICA                              INDICTME NT

       - against -                                             24-CR-123
                                                       Cr. No. _ _ _ __ _ __ _ __

YUE ZHOU,                                              (T. 18, U.S.C., §§ 98l(a)(l)(C), 1958(a),
                                                        2 and 3551 et seq.; T. 21, U.S.C.,
                        Defendant.                      § 853(p); T. 28, U.S.C., § 2461(c))

-------- -------------------X
                                                        Judge Diane Gujarati
                                                        Magistrate Judge Taryn A. Merkl
THE GRAND JURY CHARGES:

                                     MURDER-FOR-HIRE

               I.     On or about March 29, 20 19, within the Eastern District of New York

and elsewhere, the defendant YUE ZHOU, together with others, did knowingly and

intentionally use and cause another to use one or more faci lities of interstate commerce, to

wit: one or more cellular telephones and the Internet, with intent that a murder be committed

in violation of New York Penal Law Section 125 .25, to wit: the murder of Jane Doe #1, an

individual whose identity is known to the Grand Jury, as consideration for the receipt of, and

as consideration for a promise and agreement to pay, something of pecuniary value.

              •(Title 18, United States Code, Sections 1958(a), 2 and 3551 et seq .)

                         CRIMINAL FORFEITURE ALLEGATION

              2.      The United States hereby gives notice to the defendant that, upon her

conviction of the offense charged herein, the government will seek forfeiture in accordance

with Title 18, United States Code, Section 981 (a)(l )(C) and T itle 28, United States Code,
                                                                                                   2

Section 2461 ( c), which require any person convicted of such offense to forfeit any property,

real or personal, constituting, or derived from, proceeds obtained directly or indirectly as a

result of such offense.

               3.     If any of the above-described forfeitable property, as a result of any act

or omission of the defendant:

                      (a)     cannot be located upon the exercise of due diligence;

                      (b)     has been transferred or sold to, or deposited with, a third party;

                      (c)     has been placed beyond the jurisdiction of the court;

                      (d)     has been substantially diminished in value; or

                      (e)     has been commingled with other property which cannot be

divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of the defendant up to the value of the forfeitable

property described in this forfeiture allegation.

               (Title 18, United States Code, Section 981 (a)(l )(C); Title 21, United States

Code, Section 853(p); Title 28, United States Code, Section 246l(c))



                                                                  A TRUE BILL

                                                        ~                    -SO_N _    _ _ ___




B ONPEAC
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK
F.#: 2024R00229
FORM DBD•34       No.
JUN. 85


                         UNITED STATES DISTRICT COURT
                                     EASTERN District of NEW YORK
                                              CRIMINAL DIVISION

                              THE UNITED STATES OF AMERICA
                                                              V.I'.


                                                       YUE ZHOU,
                                                                                      Defendant.


                                                INDICTMENT
                            (T. 18, U.S.C., §§ 98 1(a)(l)(C), l 958(a), and 3551 et seq.;
                                 T. 21 , U.S.C., § 853(p); T. 28, U.S.C., § 2461(c))



                                                                                        Foreperson


                  Filed in open court this ___ __ _ __ ___ __ _ __ _ day.

                  of __ __ _ _ _ __ __ _ A.O. 20 __ __ _


                                                                                             Clerk



                  Bail,$ __________ _



                            Amanda Shami, Assistant U.S. Attorney (718) 254-7528
